                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

 NOVAQUEST CAPITAL                                 Civil Action No. 5:20-CV-0516-FL
 MANAGEMENT, L.L.C.,

                Plaintiff,                             ORDER GRANTING CONSENT
                                                      MOTION TO MODIFY BRIEFING
 vs.                                                          SCHEDULE

 MATTHEW BULLARD,

                Defendant.


       THIS MATTER comes before the Court on Plaintiff’s Consent Motion to Modify

Briefing Schedule. For good cause shown, this Motion is GRANTED, and the Court’s expedited

briefing schedule set by minute entry on October 9, 2020 is hereby amended to permit a reply by

Plaintiff in support of its Motion for Preliminary Injunction, if warranted under the Local Rules.

       IT IS THEREFORE ORDERED that the Court’s expedited briefing schedule set by

minute entry on October 9, 2020 is hereby amended to allow Plaintiff time in which to file a

Reply in support of its Motion for Preliminary Injunction, if necessary under Local Rules, up to

and including October 23, 2020.

             19th day of October, 2020.
       This ______



                                      _____________________________________
                                      Louise Wood Flanagan
                                      United States District Court




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